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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Kedzie Boulevard Café, Inc., et. al.,                 )
                                                      )       Case No. 20 CV 2692
Plaintiffs,                                           )
                                                      )       Judge Chang
        v.                                            )
                                                      )
Society Insurance, Inc.,                              )
                                                      )
Defendant.                                            )


Big Onion Tavern Group, LLC, et. al.,                 )
                                                      )       Case No. 20 CV 2005
Plaintiffs,                                           )
                                                      )       Judge Chang
        v.                                            )
                                                      )
Society Insurance, Inc.,                              )
                                                      )
Defendant.                                            )

KEDZIE BOULEVARD CAFÉ PLAINTIFFS’ OPPOSITION TO REASSIGNMENT

        Plaintiffs in Case No. 20 CV 2692, Kedzie Boulevard Café, Inc., Elsewhere, LLC, and

Flying Squirrel Industries, LLC (collectively the “Kedzie Plaintiffs”), by and through their

undersigned counsel, state as follows as their Position Opposing Reassignment:

        1. The Kedzie Plaintiffs oppose reassignment because it would unduly and

unnecessarily delay the litigation and resolution of their claims.

        2. Reassignment would not promote judicial efficiency based upon the widely varying

nature of the numerous actions, which involve the resolution of specific and individualized

factual issues – including but not limited to damages determinations.

        3. Moreover, in light of the tremendous damage to their businesses that Plaintiffs have



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already suffered, and will continue to suffer, time is of the essence to the Kedzie Plaintiffs.

       4. Further, the Kedzie Plaintiffs do not believe that combining the actions for purposes

of discovery will expedite or the other proceedings.

       5. Counsel for the Kedzie Plaintiffs was unable to ECF file this document in Case No.

20CV2005, and for that reason is filing this statement of position in the present case.

        WHEREFORE, the Kedzie Plaintiffs, by and through his undersigned counsel,

respectfully requests the entry of an Order denying reassignment, and for such other and further

relief as is appropriate under the circumstances.




                                               RESPECTFULLY SUBMITTED,

                                       By:     Michael I. Leonard_______
                                               Counsel for Plaintiffs (in 20 CV 2692)



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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2020, I electronically filed the foregoing with the Clerk
of the Court for the United States District Court for the Northern District of Illinois by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system. I further certify that I served this
document, by way of e-mail, upon counsel in the other “Related” matters.


                                   By: /s/ Michael I. Leonard




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